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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             :
    In re:                                                   :            Chapter 11
                                                             :
    SUNEDISON, INC., et al.,                                 :            Case No. 16-10992 (SMB)
                                                             :
                          Reorganized Debtors.1              :            (Jointly Administered)
                                                             :
                                                             :
    SUNEDISON LITIGATION TRUST,                              :
                                                             :            Adv. Pro. No. 18-01433 (SMB)
                                        Plaintiff,           :
                                                             :
                          – against –                        :             ACKNOWLEDGEMENT AND
                                                             :             ACCEPTANCE OF SERVICE
    GENERAL ELECTRIC COMPANY,                                :
                                                             :
                                        Defendant.           :
                                                             :


1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s tax
      identification number are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc.
      (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California
      Holdings, LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison
      International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison
      Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada,
      LLC (6287); Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC
      (5886); SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373);
      SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable
      Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind
      Panhandle Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A);
      EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind Holdings,
      LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa Holdings, LLC
      (9757); SunE Minnesota Holdings, LLC (8926); SunE MN Development Holdings, LLC (5388); and SunE MN
      Development, LLC (8669). The address of the Reorganized Debtors’ corporate headquarters is Two CityPlace Drive, 2nd
      floor, St. Louis, MO 63141.
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       Service of the Summons and Notice of Pretrial Conference in an Adversary Proceeding

and Complaint in the above-referenced matter is hereby acknowledged and accepted this 19th

day of April, 2018, on behalf of Defendant General Electric Company. Defendant General

Electric Company shall submit a motion or answer to the Complaint on or before June 18, 2018.

                                                   KING & SPALDING LLP


                                                   By:    /s/ Kevin J. O’Brien
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                                                          Kevin J. O’Brien
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